                 Case: 3:18-cv-00839 Document #: 1 Filed: 10/11/18 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WISCONSIN


 KI MOBILITY, LLC,

                                                 Plaintiff,
                                                                       Case No. 18-cv-839
            v.

 MCKESSON CANADA,
                                              Defendant.


                                 COMPLAINT
______________________________________________________________________________

           Ki Mobility, LLC (“Ki Mobility”), through its attorneys, Reinhart Boerner

Van Deuren, s.c., for its complaint against defendant, McKesson Canada (“McKesson”), alleges

as follows:

                                        NATURE OF THE CASE

           1.       This is a civil action seeking damages arising from McKesson’s breach of

contract by failing to abide by the terms of the parties agreement.

                                                PARTIES

           2.       Plaintiff Ki Mobility is a Wisconsin limited liability company with its principal

place of business at 1348 Westmore Court, Stevens Point, WI 54482.

           3.       Upon information and belief, Defendant McKesson has its principal place of

business at 131 McNabb St., Markham, ON L3R 5V7 Canada.

                                      VENUE & JURISDICTION

           4.       Subject matter jurisdiction is appropriate under 28 U.S.C. § 1332 because

complete diversity exists and the amount in controversy exceeds $75,000.




40373383
                 Case: 3:18-cv-00839 Document #: 1 Filed: 10/11/18 Page 2 of 5



           5.       Personal jurisdiction exists because (1) McKesson entered into contract with a

Wisconsin limited liability company for the purchase of goods; (2) as part of the contract,

McKesson agreed to certain payment terms and to be bound by the laws of Wisconsin;

(3) McKesson has failed to remit payment to Ki Mobility; and (4) KI Mobility has been damaged

by McKesson’s actions in Wisconsin.

           6.       Venue is appropriate under 28 U.S.C. § 1391(b).

                                       FACTUAL ALLEGATIONS

           7.       On or around March 30, 2017, Ki Mobility entered into a pricing and rebate

agreement (the “Agreement”) with McKesson that was effective from April 1, 2017 through

April 30, 2018. 1

           8.       As part of the Agreement, Ki Mobility agreed to provide goods to McKesson at

certain base prices, subject to discounts and rebates provided for in the Contract.

           9.       The Agreement required McKesson to submit payment within 30 days of the

invoice date. Any payments received after 30 days of the invoice date were subject to a loss of

secondary discount. Those payments received past 90 days of the invoice date were considered

in default.

           10.      In accordance with its obligations under the Agreement, Ki Mobility delivered the

desired goods to McKesson and billed McKesson, fully performing its obligations under the

Agreement.

           11.      However, McKesson repeatedly encountered issues meeting the payment terms in

the Agreement, and defaulted on its payment obligations on more than one occasion.




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 The initial term of the Agreement was April 1, 2017 through March 31, 2018. The parties later agreed to extend the
contract to conclude on April 30, 2018.



40373383                                                2
                 Case: 3:18-cv-00839 Document #: 1 Filed: 10/11/18 Page 3 of 5



           12.      Ki Mobility alerted McKesson of its default under the Agreement, and McKesson

promised to make full payment by June 30, 2018. However, no payment was received.

           13.      On or around July 18, 2018, Ki Mobility sent a demand letter to McKesson

demanding payment in full of the discount price owed. McKesson acknowledged the July 18,

2018 letter and agreed that failure to pay by August 3, 2018 would require repayment of the

account balance before discounts.

           14.      McKesson then made a partial payment on July 26, 2018, and a new account

statement was generated outlining the new balance due on or before August 3, 2018 to honor the

discounts. Failure to pay by August 3, 2018 would result in the discounts being forfeited and

require repayment of the account balance before discounts. Despite promises of payment, Ki

Mobility never received any payments from McKesson.

           15.      On or around August 14, 2018, Ki Mobility sent a final notice of default to

McKesson, informing McKesson that it had failed to make payment on its account. Ki Mobility

asked for full payment to be made by September 17, 2018, or it would seek legal action.

           16.      Ki Mobility has made numerous attempts to work with McKesson, providing

copies of invoices and fulfilling requests for documentation on numerous occasions.

           17.      Yet, despite Ki Mobility’s attempts to collect, McKesson continues to fail and

refuse to pay Ki Mobility the $137,224.44 it owes for products purchased subject to the

Agreement that were invoiced between April 1, 2017 and April 30, 2018.

                                 PLAINTIFF’S CLAIM FOR RELIEF

                                COUNT I (BREACH OF CONTRACT)

           18.      Ki Mobility repeats all of the allegations set forth in the previous paragraphs as if

fully set forth herein.




40373383                                              3
                 Case: 3:18-cv-00839 Document #: 1 Filed: 10/11/18 Page 4 of 5



           19.      McKesson is obligated to make payment for the goods purchased from Ki

Mobility per the terms of the Agreement.

           20.      Ki Mobility has provided the purchased goods to McKesson and has timely

invoiced McKesson for those goods.

           21.      McKesson has failed to make payment on its account, and as such has breached

the Agreement.

           22.      As a result of McKesson’s breach, Ki Mobility has incurred damages in an

amount, as of this date, of no less than $137,224.44.

                                        PRAYER FOR RELIEF

           WHEREFORE, Ki Mobility respectfully requests that this Court grant judgment against

McKesson and in favor of Ki Mobility for:

           A.       Compensatory damages equal to the balance due for products purchased under the

Agreement, in an amount no less than $137,224.44;

           B.       Interests on amounts due;

           C.       Attorneys’ fees, costs and disbursements in connection with this case; and

           D.       Such other and further relief as the Court deems just and appropriate.




40373383                                             4
              Case: 3:18-cv-00839 Document #: 1 Filed: 10/11/18 Page 5 of 5



           Dated this 11th day of October, 2018.


                                                       s/ Jeffrey Roeske
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40373383                                           5
